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                          UNITED STATES DISTRICT COURT
                       FOR THE SOUTHERN DISTRICT OF TEXAS
                                HOUSTON DIVISION

                                                    §
 UNITED STATES OF AMERICA                           §
                                                    §
 v.                                                 §      Case No. 22-cr-00612
                                                    §
 EDWARDS CONSTANTINESCU,                            §
 PERRY “PJ” MATLOCK,                                §
 JOHN RYBARCZYK,                                    §
 GARY DEEL,                                         §
 STEFAN HRVATIN,                                    §
 TOM COOPERMAN, and                                 §
 MITCHELL HENNESSEY,                                §
                                                    §
        Defendants.                                 §

                                     [PROPOSED] ORDER

        Having considered the United States’ Opposed Motion for a Scheduling Order, ECF 240,

and the Defendants’ responses, the Court ORDERS the United States to immediately produce to

the Defendants the particular allegedly false or misleading statements and the alleged profit and

loss figures for each Defendant for each allegedly fraudulent stock transaction and ENTERS the

following schedule for this case:

              United States’ expert disclosures:                  June 5, 2023

              United States’ Brady, Giglio, and
               18 U.S.C. § 3500 disclosures:                       June 5, 2023

              Defendants’ expert disclosures:                     August 5, 2023

              United States’ exhibit and witness list:            August 11, 2023

              Defendants’ exhibit and witness list:               August 25, 2023

              Motions in limine:                                  September 13, 2023

              Responses:                                          September 22, 2023
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        Parties’ Proposed Jury instructions and
         Proposed Voir Dire Questions:                   October 6, 2023

        Pretrial Conference:                            October 16, 2023

        Trial:                                          October 23, 2023




  Signed at Houston, Texas this ___ day of ________________, 2023.




                                      ___________________________________
                                      THE HONORABLE ANDREW HANEN
                                      UNITED STATES DISTRICT JUDGE
